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  Fill in this information to identify your case:
  Debtor 1             Seth                  Marcus                 Bordelon
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number          20-33283
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $2,321.64           $2,321.64                $0.00
Harris County
Priority Creditor's Name                                   Last 4 digits of account number        0     0    0      4
c/o John P. Dillman                                        When was the debt incurred?          01/01/2020
Number        Street
P O Box 3064                                               As of the date you file, the claim is: Check all that apply.
                                                            Contingent
Houston                         TX      77253-3064          Unliquidated
City                            State   ZIP Code            Disputed
Who incurred the debt?      Check one.                     Type of PRIORITY unsecured claim:
  Debtor 1 only
                                                            Domestic support obligations
  Debtor 2 only
                                                            Taxes and certain other debts you owe the government
  Debtor 1 and Debtor 2 only
                                                            Claims for death or personal injury while you were
  At least one of the debtors and another                    intoxicated
    Check if this claim is for a community debt            Other. Specify
Is the claim subject to offset?
 No
 Yes
2020 Estimated property taxes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                        Total claim        Priority         Nonpriority
previous page.                                                                                                      amount           amount


   2.2                                                                                               $4,311.20           $4,311.20          $0.00
Klein ISD
Priority Creditor's Name                                 Last 4 digits of account number
c/o Harris County Assessor                               When was the debt incurred?        2020
Number        Street
P O Box 4663                                             As of the date you file, the claim is: Check all that apply.
                                                          Contingent
Houston                       TX      77210-4663          Unliquidated
City                          State   ZIP Code            Disputed
Who incurred the debt?     Check one.                    Type of PRIORITY unsecured claim:
  Debtor 1 only
                                                          Domestic support obligations
 Debtor 2 only                                           Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                              Claims for death or personal injury while you were
 At least one of the debtors and another                   intoxicated
    Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?
 No
 Yes
2020 Estimated property taxes
   2.3                                                                                               $2,291.40           $2,291.40          $0.00
NW Harris County MUD#30
Priority Creditor's Name                                 Last 4 digits of account number
P O Box 1368                                             When was the debt incurred?        2020
Number        Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                          Contingent
Friendswood                   TX      77549-1368          Unliquidated
City                          State   ZIP Code            Disputed
Who incurred the debt?     Check one.                    Type of PRIORITY unsecured claim:
  Debtor 1 only
                                                          Domestic support obligations
 Debtor 2 only                                           Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                              Claims for death or personal injury while you were
 At least one of the debtors and another                   intoxicated
    Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?
 No
 Yes
2020 Estimated property taxes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2
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Debtor 1       Seth Marcus Bordelon                                                             Case number (if known)      20-33283

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                               $1.00
A10 Networks, Inc.                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 101617
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Pasadena                        CA      91189-1617
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                             Student loans
                                                             Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
     4.2                                                                                                                                               $1.00
Accellion, Inc.                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 505281
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
St. Louis                       MO      63150-5281
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                             Student loans
 Debtor 2 only                                              Obligations arising out of a separation agreement or divorce
                                                               that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                    $1.00
Aflac                                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1932 Wynnton Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Columbus                      GA      31999-0797
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secured Data Solutions Inc's debt
   4.4                                                                                                                                    $1.00
Alert Logic, Inc.                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
75 Remittance Drive Suite 6693
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Chicago                       IL      60675-6693
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.5                                                                                                                                    $1.00
Altus Global Trade Solutions                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: Grace Allen
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2400 Veterans Blvd.                                       Contingent
Suite 300                                                 Unliquidated
Kenner                        LA      70062
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secured Data Solutions Inc's debt
   4.6                                                                                                                                $2,077.00
American Express                                         Last 4 digits of account number       1    0    0    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 981535
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
El Paso                       TX      79998-1535
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
   4.7                                                                                                                              $33,127.56
American Express Business                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 981535
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
El Paso                       TX      79998-1535
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions, Inc's debt

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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.8                                                                                                                                    $1.00
Ann Harris Bennett, Tax Assessor                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 4622
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77210-4622
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
   4.9                                                                                                                                    $1.00
Arctic Wolf Networks, Inc                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
111 West Evelyn Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Sunnyvale                     CA      94086
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.10                                                                                                                                    $1.00
Arista                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5453 Great American Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Santa Clara                   CA      95054-3344
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.11                                                                                                                                    $1.00
Arrow ECS                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
13219 Collections Center Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Chicago                       IL      60693
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                    $1.00
AT&T Mobility                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 6463
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Carol Stream                  IL      60197-6463
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.13                                                                                                                                    $1.00
AVT Technology Solutions, LLC                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
a Tech Data Company
Number        Street                                     As of the date you file, the claim is: Check all that apply.
8700 South Price Road                                     Contingent
                                                          Unliquidated
Tempe                         AZ      85284-2608
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.14                                                                                                                                $9,536.26
Bank of America                                          Last 4 digits of account number       5    0    3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 982234
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
El Paso                       TX      79992
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                    $1.00
Barracuda Networks, Inc.                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3175 South Winchester Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Campbell                      CA      95008
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.16                                                                                                                                $9,806.44
Best Buy Credit Services                                 Last 4 digits of account number       1    1    2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 790441
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
St. Louis                     MO      63179
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
  4.17                                                                                                                                    $1.00
Big Daddy's BBQ                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
14097 Westheimer
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77077
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secured Data Solutions Inc's debt

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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                    $1.00
Bitglass, Inc.                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
655 Campbell Technology Park
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 225                                                 Contingent
                                                          Unliquidated
Campbell                      CA      95008
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.19                                                                                                                                    $1.00
Bradford Networks                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
162 Pembroke Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Concord                       NH      03301
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.20                                                                                                                                    $1.00
Carahsoft Technology Corp.                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1860 Michael Faraday Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 100                                                 Contingent
                                                          Unliquidated
Reston                        VA      20190
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions, LLC's debt
  4.21                                                                                                                                    $1.00
Carbon Black, Inc.                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 123508
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75312-3508
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.22                                                                                                                                    $1.00
Cato Networks, Inc,                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
11175 CIcero Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 100                                                 Contingent
                                                          Unliquidated
Alpharetta                    GA      30022
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.23                                                                                                                              $97,230.17
Chase                                                    Last 4 digits of account number       7    9    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Wilmington                    DE      19850
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.24                                                                                                                                  $507.94
Chase Bank USA NA                                        Last 4 digits of account number       3    1    2    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Wilmington                    DE      19850
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.25                                                                                                                                $5,569.93
Chase Bank USA NA                                        Last 4 digits of account number       2    1    6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Wilmington                    DE      19850
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
  4.26                                                                                                                              $47,310.00
Chase Bank USA NA                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Wilmington                    DE      19850
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.27                                                                                                                                    $1.00
City of Jersey Village                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
16327 Lakeview Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Jersey Village                TX      77040
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt

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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.28                                                                                                                                    $1.00
Cloud Harmonics, Inc.                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2528 Qume Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste. 2                                                    Contingent
                                                          Unliquidated
San Jose                      CA      95131
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.29                                                                                                                                    $1.00
Comcast 6024                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 660618
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75266-0618
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.30                                                                                                                                    $1.00
Computerlinks                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7 Grange Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Houstoun Industrial Estate                                Contingent
Livingston EH54 5DE                                       Unliquidated
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.31                                                                                                                                    $1.00
ConnectWise Inc                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
28819 Network Place
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Chicago                       IL      60673-1288
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.32                                                                                                                                    $1.00
Corelight                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
111 New Montgomery St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
7th Floor                                                 Contingent
                                                          Unliquidated
San Francisco                 CA      94105
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.33                                                                                                                                    $1.00
Crowdstrike                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
150 Mathilda Place Suite 300
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Sunnyvale                     CA      94086
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.34                                                                                                                                    $1.00
Cylance, Inc.                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1801 W. Olympic Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Pasadena                      CA      91199-2077
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.35                                                                                                                                    $1.00
Data Connectors                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
16658 Old Chesterfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Chesterfield                  MO      63017
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.36                                                                                                                                    $1.00
DIR                                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 13564
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Austin                        TX      78711-3564
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.37                                                                                                                                    $1.00
Duo Security                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
123 N. Ashley Street Suite 200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Ann Arbor                     MI      48104
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.38                                                                                                                                    $1.00
FedEx                                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO BOX 660481
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75266-0481
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.39                                                                                                                                    $1.00
Gigamon, Inc.                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 398181
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
San Francisco                 CA      94139-8181
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.40                                                                                                                                    $1.00
Hewlett Packard EnterprisesMDF                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3000 Hanover St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Palo Alto                     CA      94304-1112
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.41                                                                                                                                    $1.00
Imperva, Inc.                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3400 Bridge Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 200                                                 Contingent
                                                          Unliquidated
Redwood Shores                CA      94065
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.42                                                                                                                                    $1.00
Infoblox, Inc.                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
475 Potrero Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Sunnyvale                     CA      94089
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.43                                                                                                                                    $1.00
Ingram Micro, Inc.                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 403590
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Atlanta                       GA      30384-2590
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.44                                                                                                                                    $1.00
Insperity (Gross Pay)                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
19001 Crescent Springs Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Kingwood                      TX      77339
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.45                                                                                                                                    $1.00
Jenne, Inc.                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
33665 Chester Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Avon                          OH      44011
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.46                                                                                                                                    $1.00
JP Morgan Chase Bank                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
712 Main Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.47                                                                                                                                    $1.00
JP Morgan Chase HSA                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
National Bank by Mail
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P O Box 36520                                             Contingent
                                                          Unliquidated
Louisville                    KY      40233-6520
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.48                                                                                                                                    $1.00
Klein ISD                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7200 Spring Cypress Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Klein                         TX      77379-3299
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.49                                                                                                                                    $1.00
Kudelski Security                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
12400 Whitewater Dr Ste 100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Minnetonka                    MN      55343
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.50                                                                                                                                    $1.00
LightCyber, Inc                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5050 Camino Real
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 206                                                 Contingent
                                                          Unliquidated
Los Altos                     CA      94002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.51                                                                                                                                    $1.00
Lightspar, LLC                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15280 Addison Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Addison                       TX      75001
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.52                                                                                                                                    $1.00
LogRhythm, Inc                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4780 Pearl East Circle
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Boulder                       CO      80301
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.53                                                                                                                                  $545.06
Lonestar Anesthesia Solutions, PLLC                      Last 4 digits of account number       3    6    1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7010 Champions Plaza Dr.,Ste. 300
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77069-2394
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
  4.54                                                                                                                                    $1.00
Lookout, Inc.                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1 Front Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 3100                                                Contingent
                                                          Unliquidated
San Francisco                 CA      94111
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt

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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.55                                                                                                                                    $1.00
Machon Corporation                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1728 W Canning Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
MT Pleasant                   SC      29466
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.56                                                                                                                                    $1.00
Manning Price & Stern                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 864371
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Orlando                       FL      32886-4371
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.57                                                                                                                                    $1.00
Marlin Business Bank                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2795 E. Cottonwood Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 120                                                 Contingent
                                                          Unliquidated
Salt Lake                     UT      84121
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.58                                                                                                                                    $1.00
Mike Sullivan                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 4622
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77210-4622
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.59                                                                                                                                    $1.00
Mimecast North America                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
191 Spring Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Lexington                     MA      02421
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.60                                                                                                                                    $1.00
Mobile Iron North America                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
415 East Middlefield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Mountain View                 CA      94043
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.61                                                                                                                                    $1.00
MRZ                                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
11750 Katy Frwy Suite 1100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77079
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.62                                                                                                                                    $1.00
N Sync Services, Inc.                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
850 Greenview Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Grand Prairie                 TX      75050
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.63                                                                                                                                    $1.00
NetBrain Technologies, Inc.                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15 Network Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Burlingotn                    MA      01803
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.64                                                                                                                                    $1.00
Netscope, Inc.                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
270 3rd Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Los Altos                     CA      94022
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.65                                                                                                                                    $1.00
Okta                                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
301 Brannan Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1st Floor                                                 Contingent
                                                          Unliquidated
San Francisco                 CA      94107
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.66                                                                                                                                    $1.00
Palo Alto Networks, Inc.                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
232 E. Java Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Sunnyvale                     CA      94089
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
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previous page.

  4.67                                                                                                                                    $1.00
ParaTech LLC                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 23608
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
New Orleans                   LA      70183-3608
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.68                                                                                                                                    $1.00
Payne Malechek Scherr                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Campbell & Moore, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Attn: Trey Malechek                                       Contingent
3850 Corporate Center Drive                               Unliquidated
Bryan                         TX      77803
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.69                                                                                                                                    $1.00
Project Ring, Inc.                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
d/b/a LEO Cyber Security
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o Jason C. Norwood                                      Contingent
3913 Main St.                                             Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
Lawsuit pending in the 80th District Court, Harris County, Texas
  4.70                                                                                                                                    $1.00
Proofpoint, Inc.                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
892 Ross Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Sunnyvale                     CA      94089
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

  4.71                                                                                                                                    $1.00
Rain King a Discover.org company                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
805 Broadway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 900                                                 Contingent
                                                          Unliquidated
Vancouver                     WA      98660
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.72                                                                                                                                    $1.00
Rapid 7, LLC                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
401 Congress Ave.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 1900                                                Contingent
                                                          Unliquidated
Austin                        TX      78701
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

  4.73                                                                                                                                    $1.00
Resilient Intelligent Networks                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 1285
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Argyle                        TX      76226
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.74                                                                                                                                    $1.00
Riverbed                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
680 Folsom St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
San Francisco                 CA      94107
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
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  4.75                                                                                                                                    $1.00
Rob Anderson                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
50 King Pine Ct
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
The Woodlands                 TX      77380
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.76                                                                                                                                    $1.00
RSA Security Inc.                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 654059
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75265-4059
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.77                                                                                                                                    $1.00
RSR Corporation                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2777 Stemmons Freeway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 1800                                                Contingent
                                                          Unliquidated
Dallas                        TX      75207
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.78                                                                                                                                    $1.00
Salesforce.com                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1 Market Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 300                                                 Contingent
                                                          Unliquidated
San Francisco                 CA      94105
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.79                                                                                                                                $6,396.08
Sams Club World Mastercard                               Last 4 digits of account number       7    7    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 965004
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Orlando                       FL      32896-5004
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.80                                                                                                                                    $1.00
SAP Ariba                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
210 Sixth Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Pittsburgh                    PA      15222
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.81                                                                                                                                    $1.00
Securematics, Inc.                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 742202
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Los Angeles                   CA      90074-2202
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.82                                                                                                                                    $1.00
State Comptroller                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 149348
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Austin                        TX      78714-9348
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.83                                                                                                                                    $1.00
Stibbs & Co.                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
819 Crossbridge Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Spring                        TX      77373
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.84                                                                                                                                  $313.53
Syhchrony Bank Home/ Mattress Firm                       Last 4 digits of account number       7    7    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P O Box 960061
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Orlando                       FL      32896-0061
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 40
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.85                                                                                                                                    $1.00
Synnex                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
39 Pelham Ridge Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Greenville                    SC      29615
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.86                                                                                                                                    $1.00
Talari Networks                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1 Almaden Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 200                                                 Contingent
                                                          Unliquidated
San Jose                      CA      95113
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 41
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.87                                                                                                                                    $1.00
Tech Data Corporation                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 731209
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75373-1209
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.88                                                                                                                                    $1.00
Tenable Network Security, Inc.                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7021 Columbia Gateway Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 500                                                 Contingent
                                                          Unliquidated
Columbia                      MD      21046
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 42
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.89                                                                                                                                    $1.00
Totz Elisson & Totz, PC                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2211 Norfolk
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 510                                                 Contingent
                                                          Unliquidated
Houston                       TX      77098
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.90                                                                                                                                    $1.00
Tufin                                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15 New England Executive Office Park
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Burlington                    MA      01803
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 43
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.91                                                                                                                                    $1.00
Varonis                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1250 Broadway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
32nd Floor                                                Contingent
                                                          Unliquidated
New York                      NY      10001
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.92                                                                                                                                    $1.00
Verdtek                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10535 Boyer Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 200                                                   Contingent
                                                          Unliquidated
Austin                        TX      78758
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 44
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.93                                                                                                                                    $1.00
Wagner Falconer & Judd, Ltd.                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 South Fifth Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Minneapolis                   MN      55402
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.94                                                                                                                                    $1.00
Westcon Group, Inc.                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
520 White Plains Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Tarrytown                     NY      10591
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 45
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Debtor 1       Seth Marcus Bordelon                                                        Case number (if known)       20-33283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.95                                                                                                                                    $1.00
Westcon/ Synnex                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 512573
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia                  PA      19175-2573
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt
  4.96                                                                                                                                    $1.00
WorldTech IT, LLC                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1300 E. Riverside Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite A401                                                Contingent
                                                          Unliquidated
Austin                        TX      78741
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
 No
 Yes
Secure Data Solutions Inc's debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 46
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Debtor 1       Seth Marcus Bordelon                                                       Case number (if known)     20-33283

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Bradford Networks, Inc.                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 418751                                             Line   4.19 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Boston                          MA      02241-8751
City                            State   ZIP Code


Brenda Owoeye                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Zwicker & Associates, PC                                    Line   4.7 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
14090 SW Freeway Sutie 408                                                                     Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Sugar Land                      TX      77478
City                            State   ZIP Code


Cylance, Inc.                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
18201 Von Karman                                            Line   4.34 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
Suite 700                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Irvine                          CA      92612
City                            State   ZIP Code


Gigamon, LLC                                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
598 Gibraltar Drive                                         Line   4.39 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Milpitas                        CA      95035
City                            State   ZIP Code


Lightcyber, Inc.                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4401 Great America Parkway                                  Line   4.50 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Santa Clara                     CA      95054
City                            State   ZIP Code

Secure Data Solutions Inc's debt




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 47
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Debtor 1     Seth Marcus Bordelon                                                 Case number (if known)    20-33283

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Mimecast, Ltd                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Mimecast North America, Inc                         Line   4.59 of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number      Street
480 Pleasant Street                                                                   Part 2: Creditors with Nonpriority Unsecured Claims


                                                    Last 4 digits of account number
Watertown                  MA      02472
City                       State   ZIP Code

Secure Data Solutions Inc's debt

Talari Networks, Inc.                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
550 S. Winchester Blvd.                             Line   4.86 of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number      Street
Suite 500                                                                             Part 2: Creditors with Nonpriority Unsecured Claims


                                                    Last 4 digits of account number
San Jose                   CA      95128
City                       State   ZIP Code

Secure Data Solutions Inc's debt




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 48
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Debtor 1       Seth Marcus Bordelon                                                    Case number (if known)        20-33283

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.              $8,924.24

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.              $8,924.24




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $212,504.97


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $212,504.97




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 49
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 Fill in this information to identify your case:
 Debtor 1                Seth                          Marcus                        Bordelon
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number             20-33283
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $342,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                   $1,182,340.42
     1b. Copy line 62, Total personal property, from Schedule A/B...........................................................................................................................................................


                                                                                                                                                                         $1,524,340.42
     1c. Copy line 63, Total of all property on Schedule A/B.....................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                          $8,924.24
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $212,504.97
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $221,429.21




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,420.42
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $9,099.71




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1
                       Case 20-33283 Document 20 Filed in TXSB on 08/13/20 Page 51 of 52

Debtor 1      Seth Marcus Bordelon                                                         Case number (if known)     20-33283


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                         Case 20-33283 Document 20 Filed in TXSB on 08/13/20 Page 52 of 52

 Fill in this information to identify your case:
 Debtor 1              Seth               Marcus              Bordelon
                       First Name         Middle Name         Last Name

 Debtor 2
 (Spouse, if filing)   First Name         Middle Name         Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number           20-33283                                                                         � Check if this is an
 (if known)
                                                                                                          amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



-Sign Below

     Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

     � No

     O      Yes.    Name of person                         Attach Bankruptcy Petition Preparers Notice,
                                     --------------------- Declaration, and Signature (Official Form 119).




     Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
     true and correct.




                                                             x ___________
         Seth Marcus Bordelon, Debtor 1                         Signature of Debtor 2

         Date      t:?J'/(z/Z:JW                                Date
                   MM/DD/YYYY                                          MM/DD /YYYY




Official Form 106Dec                           Declaration About an Individual Debtor's Schedules                                   page 1
